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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

LEROY T. JOYNER, JR.,                   )
                                        )
             Plaintiff,                 )
                                        )
       v.                               )     CASE NO. 2:18-CV-1035-WKW
                                        )                [WO]
SHELLY SANDERS, et al.,                 )
                                        )
             Defendants.                )

                                    ORDER

      On August 24, 2020, the Magistrate Judge filed a Recommendation to which

no timely objections have been filed. (Doc. # 44.) Upon an independent review of

the record, it is ORDERED that the Recommendation is ADOPTED and that:

      1. Defendants’ motion to dismiss (Doc. # 35) is GRANTED;

      2. Plaintiff’s 42 U.S.C. § 1985(3) claim is DISMISSED with prejudice; and

      3. Plaintiff’s state law claims are DISMISSED without prejudice.

      Final judgment will be entered separately.

      DONE this 11th day of September, 2020.
                                                  /s/ W. Keith Watkins
                                            UNITED STATES DISTRICT JUDGE
